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               EXHIBIT A
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                      UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS
________________________________________________
                                                 :
IN THE MATTER OF THE COMPLAINT OF                :
BELLA SKY, LLC, FOR EXONERATION                  :
FROM OR LIMITATION OF LIABILITY AS               : C.A NO.: 1:20-cv-11719-GAO
OWNER OF F/V BELLA SKY, A 1977 72’               :
STEEL HULL FISHING VESSEL, BEARING               :
USCG DOCUMENTATION NO. 580932                    :
________________________________________________:

    ORDER APPROVING PETITIONER’S LETTER OF UNDERTAKING
     AND DIRECTING ISSUANCE OF MONITION AND INJUNCTION

      THIS CAUSE came before the Court upon Petitioner’s Complaint and

Petitioner’s Motion to Approve Letter of Undertaking and Enter Monition and

Injunction. Petitioners filed a Complaint for Exoneration from or Limitation of

Liability regarding a 1977 72’ steel hull fishing vessel, bearing United States Coast

Guard Doc. No. 580932 (“the Vessel”), pursuant to 46 U.S.C. § 30505, et seq. and

Supplemental Rule F, for injuries allegedly caused by or resulting from an incident

occurring on or about March 8, 2020, on the navigable waters of the United States.

The Complaint states the value of Petitioner's interest in the Vessel does not exceed

$194,000.00 and there is no pending freight. Petitioner has deposited with the

Court a Letter of Undertaking by Hartford Fire Insurance Company, as surety, as

security for the benefit of claimants in the amount of $194,000.00, with interest at 6

percent per annum from March 8, 2020, and costs, as required by the rules of this

Court and by the law. Accordingly it is hereby:

      ORDERED AND ADJUDGED that
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1. Petitioner’s Motion to Approve Letter of Undertaking and Enter Monition

   and Injunction is GRANTED.

2. The Letter of Undertaking deposited by Petitioner with the Court for the

   benefit of claimants, in the sum of $194,000.00, with interest and costs, as

   security for the amount or value of Petitioner's interest in the Vessel is

   hereby approved.

3. This Court, upon motion, shall cause due appraisement of such value and

   may thereupon order the said security increased or reduced to carry out the

   provisions of 46 U.S.C. § 30501 et seq. for personal injuries, property damage,

   or any other claims resulting from the incident that occurred on March 8,

   2020, referred to in the Petition.

4. A notice shall be issued by the Clerk of the Court to all persons asserting

   claims with respect to which the Complaint seeks exoneration or limitation,

   admonishing them to file their respective claims with the Clerk of the Court

   in writing, and to serve on the attorneys for the Petitioners a copy thereof on

   or before _________________________, (not less than 30 days after notice), or

   be defaulted, and if any claimant desires to contest either the Petitioner’s

   right to exoneration from or the right to limitation of liability, any such

   claimant(s) shall file and serve on Petitioner’s attorney an answer to the

   Complaint, on or before said date, unless his claim has included an answer to

   the Complaint, so designated, or be defaulted.




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   5. Publication of the aforesaid notice in the form required by Supplemental Rule

      F(4) be published in a newspaper of general circulation in the Suffolk County

      area once a week for four (4) successive weeks prior to the date fixed for the

      filing of claims, and copies of the notice shall also be mailed in accordance

      with Supplemental Rule F.

   6. The commencement or further prosecution of any and all actions or

      proceedings against Petitioner, the Vessel, or other property of Petitioner

      with respect to any claims for which Petitioner seeks exoneration from or

      limitation of liability herein, including any claim arising out of, or incident to,

      or connected with any loss, damage, or injury more fully described in the

      Petition, be and they are hereby restrained, stayed and enjoined until the

      hearing and determination of this action.

   7. Service of this Order as a restraining order may be made through the Post

      Office by mailing a confirmed copy thereof to the person or persons to be

      restrained, or to their respective attorneys, or alternatively, by hand delivery.

DONE AND ORDERED this ____ day of _______________________, 2020.



                                               ________________________________
                                               UNITED STATES DISTRICT JUDGE

Copies provided to:
Magistrate Judge
All Counsel of Record




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